Case: 6:24-cv-00007-REW-HAI Doc #: 65-5 Filed: 02/28/24 Page: 1 of 5 - Page ID#:
                                    1917


                                                          Ex. E




                                                                     EXHIBIT E
Case: 6:24-cv-00007-REW-HAI Doc #: 65-5
                                   60-4 Filed: 02/28/24
                                               02/22/24 Page: 2 of 5 - Page ID#:
                                    1761
                                    19182
                                        7
Case: 6:24-cv-00007-REW-HAI Doc #: 65-5
                                   60-4 Filed: 02/28/24
                                               02/22/24 Page: 3 of 5 - Page ID#:
                                    1762
                                    1919
Case: 6:24-cv-00007-REW-HAI Doc #: 65-5
                                   60-4 Filed: 02/28/24
                                               02/22/24 Page: 4 of 5 - Page ID#:
                                    1763
                                    1920
Case: 6:24-cv-00007-REW-HAI Doc #: 65-5
                                   60-4 Filed: 02/28/24
                                               02/22/24 Page: 5 of 5 - Page ID#:
                                    1764
                                    1921
